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AO 399 (()1/09`) Waiver ofthc Service of Summons

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

NAT|ONAL UN|ON F|RE lNSURANCE CO|VlPANY

 

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PEGATRON CORPORATlON
Defendanl

Civil Action No. 1218-cv-03701-ELR

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WAIVER OF THE SERVICE OF SUMMONS

To: Les|ie K. Eason
(Name of the plaintiffs attorney ar zmrepresenledplainl{`[f)

 

l have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies ot` this waiver form, and a prepaid means of returning one signed copy of the form to you.

l, or the entity l represent, agree to save the expense of serving a summons and complaint in this ease.

l understand that l, or the entity l represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction_, and the venue ofthe action, but that l waive any objections to the absence ofa summons or ot` service.

I also understand that l, or the entity l represent, must tile and serve an answer or a motion under Rule 12 within
60 days from 10/02/2018 , the date when this request was sent (or 90 days if it was sent outside the
United States). lt l fail to do so, a default judgment will be entered against me or the entity l represent.

Date: _ 10/02/2018# gp C%/y/‘,/

lS`I'gncllure oft/re attorney or unrepresented party

 

 

 

 

Pegatron Corporation Zoe Chen
Prinlea’ name Of])arty waiving service of summons Prinled name
N0.76, Ligong St., Beitou Dist., Taipei City 11261,
Taiwan
Address

zoe1_chen@pegatr0ncorp.corn

 

E~mal`/ address

 

Te/ephone number

 

l)uty to Avoid llnnecessary Expenses of Scrving a Summons

Rule 4 ot`the liederal Rules ot`Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses ot`serving a summons
and complaint A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintii`i`located in
the United States will be required to pay the expenses ot`service, unless the defendant shows good cause for the fallure.

"‘Good cause"" does not include a beliefthat the lawsuit is groundless or that it has been brought in an improper venue, or that the court has
nojurisdiction over this matter or over the defendant or the defendants property

lt`the waiver is signed and returned, you can still make these and all other defenses and objectionst but you cannot object to the absence of
a summons or ofscrvice.

lt`you waive service, then you must_y within the time specified on the waiver forin_ serve an answer or a motion under Rule 12 on the plaintiff
and tile a copy with the court By signing and returning the waiver t`orin_ you are allowed more time to respond than il a summons had been served

